Case 09-10138-MFW Doc 4255-1 Filed 11/08/10 Pageiof3

CASE NAME: Nortel Networks Inc. & Nortel Networks Corp.
CASE NO.: 09-10138/09-10164 - KG

SIGN-IN-SHEET

70 -53065 - /0-53066
PLEASE PRINT YOUR NAME OR YOUR APPEARANCE MAY NOT BE CORRECTLY NOTED

COURTROOM LOCATION: 3
DATE: 11/8/10

NAME LAW FIRM OR COMPANY CLIENT REPRESENTING
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Case 09-10138-MFW Doc 4255-1 Filed 11/08/10 Page 2of3

SIGN-IN-SHEET

CASE NAME: Nortel Networks Inc. & Nortel Networks Corp.

CASE NO.: 09-10138/09-10164 - KG
10-53005 / /0- 53046

COURTROOM LOCATION: 3
DATE: 11/8/10

PLEASE PRINT YOUR NAME OR YOUR APPEARANCE MAY NOT BE CORRECTLY NOTED

NAME

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Court Conference

Calendar Date: 11/08/2010
Calendar Time: [ 12:30 PMET |

U.S. Bankruptcy Court-Delaware
Confirmed Telephonic Appearance Schedule
Honorable Kevin Gross

Courtroom
Amended Calendar 11/08/2010 07:26 AM
Telephonic
Page# Item# Case Name Case# Proceeding App ID Appearance By Telephone Firm Name Representing
Nortel Networks Inc., 09-10138 Hearing @Sar2e9 David Botter @Qumeraeaey Akin, Gump, Strauss, Hauer & Feld, Creditor, Official Committee
et al of Unsecured Creditors /
LIVE
Nortel Networks Inc., 09-10138 — Hearing @3am@—@ Brad Kahn Cae Akin, Gump, Strauss, Hauer & Feld, Creditor, Official Committee
et al of Unsecured Creditors /
LIVE
Nortel Networks Inc., 09-10138 Hearing @@RS68B Thomas Kreller SE Nilbank, Tweed, Hadley & McCloy, Creditor, Bond Holders
et al Group / LIVE
Nortel Networks Inc., 09-10138 Hearing @B82E> Sarah Schultz (eee Akin, Gump, Strauss, Hauer & Feld, —_ Creditor, Official Committee
et al of Unsecured Creditors /
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Peggy Drasal CourtConfCal2009 Page 1 of 1
